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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CHRISTOPHER CHANDLER,
Plaintiff,

Vv. Case No. 18-cv-2136 (APM)

DONALD BERLIN, et al.,

Defendants.

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What amount of punitive damages, if any, do you award?

Punitive Damages $ 1 000, 00 |

Your job is now complete. Have your foreperson sign and date this Verdict Form.

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Date . gnature of Foreperson

[End of verdict form]
